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EXHIBIT D

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

NEW CENTURY TRS HOLDINGS, : Case No. 07-10416 (KIC)
INC., a Delaware corporation, et al.,’ :
Jointly Administered

Debtors.

DECLARATION OF JEFFREY M. REISNER IN SUPPORT OF
APPLICATION FOR ORDER PURSUANT TO SECTION 327(e)
OF THE BANKRUPTCY CODE AUTHORIZING EMPLOYMENT OF
YRELL & MANELLA LLP AS SPECIAL LITIGATION, EMPLOYEE BENEFITS AND
INSURANCE COUNSEL TO THE DEBTORS NUNC PRO TUNC AS OF APRIL 20, 2007

I, JEFFREY M. REISNER, hereby declare as follows:

1, ] am a member in good standing of the Bar of the State of California. | am
admitted to practice before, among other courts, the United States District Courts for the Central,
Northern, Southern and Eastern Districts of California, and the Court of Appeals for the Ninth
Circuit.

2. lam a partner of Irell & Manella LLP (“I&M_”), proposed special litigation and
insurance counsel to New Century TRS Holdings, Inc., et al., the debtors and debtors in

possession herein (the “Debtors”).

' The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT,
inc), a Maryland corporation; New Century TRS Holdings, Inc. (fAi/a New Century Financial Corporation), a
Delaware corporation; New Century Mortgage Corporation (f/k/a JBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation; Home| 23 Corporation ({/k/a The Anyloan Corporation, 1800anyloan com,
Anyloan com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated), a
California corporation; NC Asset Holding, LP. (f/k/a NC Residual ]] Corporation), a Delaware limited partnership;
NC Residual H1 Corporation, a Delaware corporation; NC Residual 1V Corporation, a Delaware corporation; New
Century R-E.O. Corp , a California corporation; New Century R.E O_ {I Corp., a California corporation, New
Century REO. II Corp, a California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability company; NCoral, LP., a
Delaware limited partnership.

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3. This Declaration is submitted in support of “Application For Order Pursuant To
Section 327(e) Of The Bankruptcy Code Authorizing Employment Of Irell & Manella LLP As
Special Litigation, Employee Benefits and Insurance Counsel To The Debtors Nunc Pro Tune to
April 20, 2007” (the “Application”) filed by the Debtors. Except where otherwise indicated
below, I have personal knowledge of the facts set forth in this Declaration. If called and sworn
as a witness, | could and would testify competently such facts. This Declaration is made
pursuant to Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure.

BACKGROUND

4, With respect to the facts set forth in this background section, I am informed and
believe that such facts are true and correct.

5. New Century Financial Corporation, a Maryland corporation (“NCF”) and
publicly owned real estate investment trust, is one of the largest specialty mortgage finance
businesses in the United States. Through its subsidiaries and its primary holding company

subsidiary, New Century TRS Holdings, Inc., a Delaware corporation (“New Century TRS”),

NCF originates, purchases, sells, and services mortgage loans nationwide. NCF historically
focused on “subprime” lending, or lending to individuals whose borrowing needs were generally
not fulfilled by traditional financial institutions because they did not satisfy the credit,
documentation or other underwriting standards prescribed by conventional mortgage lenders and
loan buyers.

6. On April 2, 2007 (the "Petition Date"), the Debtors filed voluntary petitions for
relief, Further, the court entered an order approving the joint administration of the Debtors'
chapter 11 cases for procedural purposes only. The Debtors are operating their business and
managing their affairs as debtors and debtors-in-possession.

7. On ot about April 17, 2007, a class action lawsuit relating to the Debtors’ alleged
violation of the Worker Adjustment and Retraining Notification Act, 29 U.S.C. § 2101 et. seq.
and California Civil Code §§ 1400, et seq. (collectively, the "WARN Act"), was filed in the

Debtors' bankruptcy cases, commencing adversary proceeding 07-50970 (KJC) (the "WARN

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Class Action." The WARN Class Action relates to various pre-petition employee terminations.
The WARN Class Action plaintiffs seek allowance of a claim for sixty days of wages and
benefits for each employee so terminated, and attorneys' fees and costs, on an administrative
priority claim basis.

8. The Debtors are in need of counsel to represent them in the defense of the WARN
Class Action relating to possible additional employee terminations and desire to employ 1&M for
such purposes. The Debtors have further requested that 1&M provide advice relative to certain
insurance matters that arise from time to time. In early 2005, 1&M performed an insurance
policy review for certain of the Debtors. Upon its retention, I&M will again review the Debtors!
insurance policies and be in a position to provide advice to the Debtors regarding their insurance
policies. Moreover, the Debtors have requested that I&M provide the Debtors with
representation in employee benefit matters, including with respect to the wind-up of the Debtors’
benefit plans, and issues concerning the Debtors’ COBRA obligations.

1&M'S OUALIFICATIONS

9. As indicated by the biographical summaries annexed to the Application as
Exhibit B, I&M is highly qualified to serve as special litigation, employee benefits and insurance
counsel in these chapter 11 cases. 1&M has experience in virtually all aspects of the law that
may arise in connection with the proposed representation. 1&M has served as counsel in other

large class action litigation matters, including, but not limited to: Broadcom Securities Class

Action: Cheesecake Factory Securities Class Action; Charter Communications Securities Class

Action: Global Crossing Securities Class Action; Metricom Securities Class Action; Coldiron v.

Pizza Hut; Fraker v, KFC Corp.; Bates v. Rubio's Restaurants. Inc.; and Puchalski v. Taco Bell.

10. 1&M also has served as litigation counsel, insurance litigation counsel and/or
bankruptcy counsel in many other bankruptcy cases throughout the country, including: In re First

Alliance Mortgage Company (bankruptcy, insurance and litigation counsel); In re Peregrine

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Systems (post-confirmation litigation counsel); In re Imperial Credit Industries. Inc. (Trustee's

bankruptcy and litigation counsel); In re Chi-Chi's Inc., (litigation and bankruptcy counsel); In re

Nimitz Partners (litigation counsel); In re Med Diversified Inc. (litigation counsel for creditors’

trust}; Inre The Flintkote Company (insurance and insurance litigation counsel); and In re

Medieval Times (bankruptcy counsel}.

HI. 1&M also has significant expertise in matters concerning almost every type of
employee benefit plan, including 401k plans, welfare plans and COBRA obligations. [&M's
experience extends to the winding up of such plans in bankruptcy matters. Recently, I&M

provided such assistance in In re First Alliance Mortgage Company; In re Chevys; and In re

Furrs Supermarkets.
12. 1&M has stated its desire and willingness to act in these cases and render the
necessary professional services as special bankruptcy litigation, employee benefits and insurance

counsel! for the Debtors.

SERVICES TO BE PROVIDED BY I&M

13. Subject to further Order of the Court, the Debtors propose that I&M be employed
as their special litigation, insurance and employee benefits counsel in accordance with the terms
of the Retainer Agreement, in defending the Debtors' interests in the WARN Class Action and
providing advice relative to WARN Act issues, providing advice regarding insurance matters,
providing advice and assistance with respect to benefit plan issues and to perform all other
necessary or appropriate legal services in connection with these chapter 1] cases as the Debtors
request. The services I&M will provide, among, other things, are the ordinary and necessary
legal services as may be required in connection with the following:

e The WARN Class Action;

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e Employee benefit matters, including issues relating to the wind down of the Debtors’
benefit plans and their COBRA obligations;

e Insurance matters; and

e Providing such other advice and representation as may be necessary or appropriate
in these chapter 11 cases relating to the foregoing.

14. As indicated in the Retainer Letter, however, the Debtors do not intend for I&M
to be responsible for the provision of substantive legal advice outside of those areas of expertise
for which 1&M is being expressly retained (when and as requested by the Debtors), including
advice in such areas as patent, securities, trademark, corporate, taxation, labor, criminal or real
estate law. Further, the Debtors do not intend for 1&M to be required to devote attention to, form
professional opinions as to, or advise the Debtors with respect to its disclosure obligations under

federal or state securities or other nonbankruptcy laws or agreements.

THE EFFECTIVENESS OF I&M'S EMPLOYMENT

15. Onor about April 15, 2007, counsel to the Debtors made initial contact with I&M
regarding this engagement. A call was convened shortly after such initial contact to discuss the
WARN Class Action and 1&M’s interest in serving as special litigation counsel to the Debtors.
Shortly thereafter, 1&M determined, after conducting a preliminary check for conflicts, that it
could accept the representation and the Debtors decided to retain I&M. The terms of I&M's
retention were finalized on May 1, 2007, and I&M's engagement letter was executed by the
Debtors on May 3, 2007.

16. Because of the nature of the Class Action and the Debtors' sensitivity to employee

related issues, 1&M immediately began reviewing the Class Action complaint and additional

> This Application was ready to be filed when the Debtors contacted [&M regarding employee benefit
representation assistance on May 8, 2007, and was subsequently modified.

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documents relative to WARN Act issues.* At the same time, 1&M began preparing retention
paperwork, including this Application, which was filed as promptly as possible after 1&M
accepted the retention.

17, Because of the short amount of time between the filing of the WARN Class
Action complaint and the Debtors' consideration of a response thereto (and consideration of
additional employee-related issues), the Debtors were unable to obtain this Court’s approval of
1&M’s retention prior to the commencement of work by I&M to represent and protect the
Debtors’ interests. The Debtors worked diligently with 1&M and filed this Application as soon
as practicable. Thus, the Debtors submit that approving 1&M’s retention in these cases nunc pro
tunc to April 20, 2007, is appropriate under the circumstances.

DISCLOSURE CONCERNING CONFLICTS OF INTEREST

18. To check and clear potential conflicts of interest in these cases, and based upon
information known on or near the date of this Application, 1&M researched its client database to
determine whether it had any relationships with the following entities (collectively, the

“Interested Parties”):

a. the Debtors (using both current and former names);

b. the 50 largest unsecured creditors for the Debtors on a consolidated
bases as identified in the Debtors’ chapter 11 petitions;

c. the Debtors’ secured creditors;

d. the Debtors’ current directors and senior employees;

e. the Debtors’ significant shareholders of NCF; and

f. professionals that the Debtors have identified as involved in these

chapter 11 cases.

19. The identities of the Interested Parties were provided to 1&M by the Debtors and
are set forth on Schedule | annexed hereto and incorporated herein by this reference. I&M has

advised the Debtors that it has not, does not, and will not represent any Interested Party with

* Nonetheless, 1&M will not bill the estates for work performed before April 20, 2007

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respect to matters related to the Debtors’ chapter 11 cases. 1&M has further advised the Debtors
that, to the extent its research of its relationships with the Interested Parties indicated that it has
represented in the past several years, or currently represents, any Interested Party in matters
unrelated to these chapter 11 cases, the identities of such Interested Party are set forth below.
20. To the best of the Debtors’ knowledge and belief, insofar as the Debtors have

been able to ascertain after reasonable inquiry and except as may be described herein, neither
I&M nor any of the attorneys employed by it have any material connection with the Debtors,
their creditors, the Official Committee of Unsecured Creditors (the “Comuittee”), the Office of
the U.S. Trustee, any other party with an actual or potential interest in these chapter 11 cases, or
their respective attorneys or accountants. Among other things:

a. 1&M has not represented, and, does not and will not represent any entity

other than the Debtors in matters related to these chapter 11 cases.

b. As described in paragraph 25 below, I&M has not performed any services
for the Debtors since January 6, 2006 and is not a creditor of the Debtors or their estates.”

c. 1&M currently represents affiliates of creditors UBS Real Estate Group,
Citigroup Global Markets Realty Corporation; J.P. Morgan Chase & Co., GMAC
Commercial Finance and General Electric Capital Corporation in matters unrelated to
these cases.” Nonetheless, 1&M does not, and will not, represent any of these entities or
their affiliates in matters relating to the Debtors or their chapter 11 cases.°

d. I&M recently served as counsel to creditor Lowermypbills, Inc. and
affiliates of creditor Credit Suisse First Boston Mortgage Capital Corporation LLC in
matters unrelated to these cases. Nonetheless, 1&M does not, and will not, represent any
of these entities or their affiliates in matters relating to the Debtors or their chapter 11
cases,

e, From time to time I&M serves as counsel to, is represented by, and refers
representations to other professional firms. 1&M does not represent and is not
represented by any of the other professional firms employed in the Debtors’ chapter 11

* With the exception of one-half hour entry in 2006, I&M's work for the Debtors ceased in November
2005,

> In many instances, 1&M also represents other clients against the entities that are creditors of the Debtors
tather than above-mentioned affiliates

* On occasion, 1&M files amicus briefs on behalf of industry groups in which various Interested Parties are
participants. 1&M filed such a brief in connection with the Enron case and several Interested Parties were members
of the securities industry group on whose behalf the brief was filed. The Interested Parties were not and did not
become clients of ]&M by virtue of such work, however.

” 1&M is now adverse to Credit Suisse in other matters.

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cases with respect to these chapter 11 cases. 1&M does not and will not represent any of
the other professional firms engaged in the Debtors' bankruptcy cases in any matters
relating to the Debtors or their chapter 11 cases, but may otherwise represent such
professional firms in unrelated matters.

f. In the future, 1&M may serve as counsel to certain other Interested Parties
in matters unrelated to these cases. In the event that 1&M is so retained, I&M will file
supplementary disclosures with this Court regarding the nature of such representation of
an Interested Party.

g. I&M also serves or has served as counsel in matters unrelated to these
chapter 11 cases where certain of the Interested Parties were adverse to 1&M’s clients, or
where I&M attomeys served as mediators in mediations involving Interested Parties.
1&M has agreed to provide a detailed schedule of such entities upon request.

h. Several attorneys of the Firm have spouses, parents, children, siblings,
fiancés, fiancées, who are attorneys at other law firms, companies, and government
agencies which may or may not be Interested Parties. I&M has strict policies against
disclosing confidential information to anyone outside the Firm, including to spouses,
parents, children, siblings, fiancés and fiancées.

21. To the best of the Debtors’ knowledge, information and belief, 1&M represents no

interest adverse to the Debtors in the matters for which 1&M is proposed to be retained, The

Debtors’ knowledge, information and belief regarding the matters set forth herein are based, and

made in reliance, upon the Reisner Declaration. The employment of 1&M as special litigation,

employee benefits and insurance counsel to the Debtors is appropriate and necessary to enable

the Debtors to adequately defend themselves in the WARN Class Action and other similar

actions that may be brought against the Debtors during the pendency of these chapter 11 cases.

In addition, the Debtors are in need of advice regarding both insurance and employee benefit

matters. The Debtors submit that its employment of I&M would be in the best interests of the

Debtors’ respective estates.

DISCLOSURE OF COMPENSATION

BQ
tm

With respect to 1&M’s services as special litigation and insurance counsel, the

Debtors request that all legal fees and related costs and expenses incurred by the Debtors on

account of services rendered by 1&M in these cases be paid as administrative expenses of the

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estates pursuant to, among other things, sections 330(a), 331 and 503(b) of the Bankruptcy Code.
Subject to the Court’s approval, on an interim basis, 1&M will charge for its legal services on an
hourly basis in accordance with its ordinary and customary hourly rates in effect on the date such
services are rendered. 1&M has informed the Debtors that its billing rates currently vary from
$275 to $805 per hour for attorneys and from $110 to $350 for litigation support, paralegals and
legal assistants, and are adjusted periodically, typically on January | of each year.® The range of
billing rates set forth above reflects, among other things, differences in experience levels within
classifications and differences between types of services being provided.

23. A list of the guideline hourly rates for those members of 1&M that are expected to
render substantial and material services to the Debtor's is reflected in a schedule annexed to the
Application as Exhibit B.

24. The Debtors have been billed, and will continue to be billed, at [&M’s customary
billing rates for matters of this type, together with reimbursement of all reasonable costs and
expenses incurred by I&M in connection herewith. Such expenses include, but are not limited
to, charges for messenger services, air couriers, photocopying, postage, long distance telephone
service, outgoing facsimile service, computerized legal research facilities (including the time
billed for such legal research), process service, Investigative searches, and other charges
customarily invoiced by law firms. The Debtors propose to pay I&M at such rates and to
reimburse it for such expenses, subject to the provisions of the Bankruptcy Code, the Federal
Rules of Bankruptcy Procedure and the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court of the District of Delaware (the “Local Rules”), and applicable

orders of this Court. Moreover, the Debtors understand that 1&M _ hereinafter intends to apply to

" [&M submits that the aforementioned rates be revised to the hourly rates that will be in effect from time
to time. Changes in }&M’s regular hourly rates will be noted on the invoices for the first time period in which the
revised rates became effective.

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the Court for allowances of compensation and reimbursement of expenses in accordance with the
applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any
order entered by this Court establishing interim compensation procedures for all services
performed and expenses incurred after the Petition Date.

25. Since January 6, 2006, 1&M has not performed any services for the Debtors and
the Debtors timely paid 1&M for such services. Accordingly, I&M does not have a prepetition
claim against the Debtors.

26. 1&M has received no promises regarding compensation in these chapter 11 cases
other than in accordance with the Bankruptcy Code. Further, 1&M has no agreement with any
nonaffiliated entity to share any compensation earned in these chapter 1! cases.

27. The Debtors, subject to the provisions of the Bankruptcy Code, Bankruptcy Rules,
Local Rules, and further Orders of the Court, propose to pay I&M its customary hourly rates for
services rendered, as set forth above, and to rermburse I&M according to its customary

reimbursement polices, and submit that such rates are reasonable.

1 declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge and belief:

Executed on May 11, 2007, at Newport Beach, California.

/s Jeffrey M. Reisner
Jeffrey M. Reisner

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